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JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
Case No. 2:21-cv-03294-RGK-MAR Date September 15, 2021

 

 

Title Michael Magee v. United States of America et al

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Defendants’ Motion to Dismiss Plaintiff's

Complaint for Lack of Subject Matter Jurisdiction Pursuant to Fed. R.
Civ. P 12(b)(1) [DE 15]

I. INTRODUCTION

On April 16, 2021, Michael Magee (‘Plaintiff’) filed a Complaint (“Compl.”) (ECF No. 1)
against the United States of America, acting United States Attorney Tracy L. Wilkison, and assistant
Director of the FBI Kristi Koons Johnson (collectively, “Defendants” or “the Government”). Plaintiff
alleges claims for Return of Property pursuant to Federal Rule of Criminal Procedure Rule 41(g) and for
violation of his rights under the Fourth and Fifth Amendments. Plaintiffs claims arise from the
Government’s seizure and search of his personal property located in safe deposit boxes on the premises
of non-party US Private Vaults.

Presently before the Court is the Government’s Motion to Dismiss Plaintiff's Complaint for Lack
of Subject Matter Jurisdiction Pursuant to Fed. R. Civ. P 12(b)(1). (“Motion”) (ECF No. 15). Plaintiff
failed to timely file an opposition to the Motion. For the reasons that follow, the Court GRANTS the
Government’s Motion.

Il. JUDICIAL STANDARD

Federal courts are courts of limited jurisdiction and are “presumed to lack jurisdiction in a
particular case unless the contrary affirmatively appears.” Stock W., Inc. v. Confederated Tribes of the
Colville Reservation, 873 F.2d 1221, 1225 (9th Cir. 1989). A party may move to dismiss a claim for lack
of subject matter jurisdiction. Fed. R. Civ. P. 12(b)(1). When subject matter jurisdiction is challenged
under Rule 12(b)(1), the plaintiff has the burden of establishing jurisdiction. Kingman Reef Atoll
Investments, L.L.C. v. United States, 541 F.3d 1189, 1197 (9th Cir. 2008).

 

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Il. DISCUSSION

The Government contends that the Court should dismiss Plaintiffs claims for return of property
and violation of the Fourth and Fifth Amendments because the Government has initiated forfeiture
proceedings against the property that Plaintiff asserts is his, thereby depriving the Court of equitable
jurisdiction over Plaintiffs claims. (Motion at 5).

Based on a review of Plaintiff's Complaint, the Government’s arguments, applicable law, and the
fact that the Government has filed a civil forfeiture proceeding against the property at issue in this case,
(see Defendants’ Notice of Filing of Civil Forfeiture Complaints, ECF No. 22),! it appears that the
Government’s jurisdictional argument is a successful challenge to Plaintiffs claims. See United States v.
US. Currency $83,310.78, 851 F.2d 1231, 1235 (9th Cir. 1988) (holding that “when a civil forfeiture
proceeding has been filed, the claimant has adequate remedies to challenge any fourth amendment
violation|[,]” and “there is no need to fashion an equitable remedy to secure justice for the claimant.”).
The Court need not delve into the merits of this argument, however, as Plaintiff failed to timely file an
opposition to the Motion.” Local Rule 7-12 states that the failure to timely file any required paper may
be deemed consent to the granting or denying of the motion. As such, the Court deems Plaintiff's failure
to timely file an opposition as consent to granting the Government’s Motion.

IV. CONCLUSION

In accordance with the foregoing, the Court GRANTS the Government’s Motion.

 

 

IT IS SO ORDERED.
I The Court takes judicial notice of the civil forfeiture complaint filed in case number 2:21-cv-
06968.
2 Plaintiff filed an untimely opposition on August 25, 2021, eight days after his deadline to do so.

(ECF No. 26). Even were the Court to consider this late-filed brief, Plaintiff's opposition does not
address the Government’s jurisdictional argument.

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